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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

      RONNIE BARTON, Individually and on
      Behalf of All Others Similarly Situated,

                        Plaintiff,                            Case No.: 12-CV-460-JED-PJC

      v.
                                                              ATTORNEY LIEN CLAIMED
      ALLMERICA FINANCIAL BENEFIT                             JURY TRIAL DEMANDED
      INSURANCE COMPANY, a Foreign
      Corporation,

                       Defendant.


                                      AMENDED COMPLAINT

              COMES NOW the Plaintiff, Ronnie Barton, individually and on behalf of all

      others similarly situated, and for her cause of action against the Defendant Allmerica

      Financial Benefit Insurance Company (“Allmerica”), states as follows:

                             PARTIES, JURISDICTION AND VENUE

           1. Plaintiff is a citizen of the State of Oklahoma residing in this judicial district.

           2. At all times relevant hereto, Defendant Allmerica was and is a foreign insurer

              licensed to transact and conduct business in the State of Oklahoma. Specifically,

              Allmerica is a Michigan corporation with its principal place of business in

              Massachusetts.

           3. This Court has original jurisdiction of the claims asserted herein pursuant to the

              Class Action Fairness Act and U.S.C. § 1332(d)(2)(A) in that the amount in

              controversy and the claims at issue exceed the sum of $5,000,000, exclusive of

              interest, costs and attorney fees and is a putative class action in which members of

              the class of plaintiffs are citizens of States different from Defendants’ state of
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               citizenship. This Court also has jurisdiction of the claims asserted herein pursuant

               to 28 U.S.C. § 1332 as the parties are citizens of different states and the amount in

               controversy exceeds $75,000.00.

            4. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391.

                                       STATEMENT OF FACTS

            5. Paragraphs 1-4 are incorporated herein by reference.

            6. Defendant Allmerica offered and sold a form of uninsured/underinsured motorist

               (“UIM”) coverage that provides payment to covered persons for bodily injury

               resulting from a covered automobile accident in the State of Oklahoma.

           7. Upon information and belief that will be confirmed through discovery, Defendant

               Allmerica has a pattern and practice of automatically denying UIM coverage if

               the third party tortfeasor has liability insurance limits equal to or greater than the

               limits of the UIM policy at issue, regardless of the nature and extent of the

               insured’s injuries. This is clearly and expressly contrary to Oklahoma law. See,

               e.g., Burch v. Allstate Ins. Co., 1998 OK 129, 977 P.2d 1057, 1058 (“[U]ninsured

               motorist ("UM") coverage is primary, meaning that an uninsured motorist carrier

               is liable for the entire amount of its insured's loss from the first dollar up to the

               UM policy limits without regard to the presence of any other insurance.”)

               (emphasis added); see also Brambl v. GEICO, 2011 U.S. Dist. LEXIS 127941, *

               8 (N.D. Okla. Nov. 4, 2011) (“[A] UM carrier may not withhold payment of UM

               benefits, waiting until the tortfeasor's liability limits are exhausted) (citing Burch,

               977 P.2d at 1063).

          8.   By affording all putative class members a policy of UIM coverage, Defendant




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               contractually agreed to assume the responsibility of independently evaluating a

               claim made against such coverage without regard to the presence of any other

               insurance.

          9.   Defendant breached this contractual duty, and acted in bad faith, by automatically

               denying claims made against UIM policies in Oklahoma where third party

               tortfeasor insurance limits were equal to or greater than the UIM policy limits,

               without any investigation or evaluation of the nature and extent of the claim.

          10. Defendant’s practice of disallowing claims where third party policy limits meet or

               exceed UIM limits systematically eliminates payments for UIM claims without

               any investigation or evaluation.

          11. Defendant’s practice of disallowing UIM claims where third party policy limits

               meet or exceed UIM policy limits is presumptively unreasonable.

          12. Defendant’s actions in utilizing this practice to unilaterally deny UIM benfits

               constitutes a breach of its obligations as a first party insurance provider.

          13. Defendant’s actions in utilizing this practice to unilaterally deny UIM claims

               amounts to a per se breach of Defendant’s implied duty of good faith and fair

               dealing, including their obligation to conduct a full and fair evaluation of each

               claim and to not unreasonably deny or withhold benefits.

                                     CLASS REPRESENTATIVES

           14. Paragraphs 1-13 are incorporated herein by reference.

           15. On or about April 9, 2012, Plaintiff was involved in a motor vehicle accident as a

               result of the negligence of an underinsured motorist.




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          16. On the same date, Plaintiff was insured under a contract with Defendant

             Allmerica where the Defendant was to provide UIM coverage for the Plaintiff in

             accordance with said policy.

          17. Plaintiff notified Defendant Allmerica she was making a claim under said UIM

             policy for injuries sustained in the April 9, 2012 motor vehicle accident.

          18. On or about April 27, 2012, Defendant Allmerica contacted Plaintiff’s counsel

             and informed him that no UIM benefits were available to Plaintiff under said

             policy for the sole reason that the limits of the third party tortfeasor were greater

             than the limits of Plaintiff’s UIM policy with Allmerica.            See Letter from

             Christopher Zagors to Plaintiff’s counsel dated April 27, 2012 (Ex. 1).

          19. Allmerica has a pattern and practice of automatically denying UIM coverage

             when the third party tortfeasor has liability insurance limits equal to or greater

             than the limits of the UIM policy at issue, regardless of the nature and extent of

             the insured’s injuries.

          20. Plaintiff relied on Defendant Allmerica to properly handle her claim(s) and make

             payment on the applicable claim(s) pursuant to the aforementioned insurance

             policy. Plaintiff has met all of the conditions precedent for payment of claims

             under said insurance policy.

          21. Defendant has unreasonably failed and refused to pay the benefits under the

             insurance policy.

                                 CLASS ACTION ALLEGATIONS

          22. Paragraphs 1-21 are incorporated herein by reference.

          23. Plaintiff brings this lawsuit on behalf of two classes of people:



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             The first class of people includes:

                     All people in the State of Oklahoma who were/are beneficiaries of a UIM

             insurance contract issued by Defendant Allmerica who were (1) injured in a

             covered automobile accident; (2) made a claim against their UIM coverage with

             Defendant Allmerica from July 7, 2008 through the present; and (3) had such

             claims denied at any point due in part to the fact that the third party tortfeasor had

             liability insurance policy limits equal to or greater than the applicable Allmerica

             UIM policy limits.

             The second class of people includes:

                     All people in the State of Oklahoma who were/are beneficiaries of a UIM

             insurance contract issued by Defendant Allmerica who were (1) injured in a

             covered automobile accident; (2) made a claim against their UIM coverage with

             Defendant Allmerica from July 7, 2010 through the present; and (3) had such

             claims denied at any point due in part to the fact that the third party tortfeasor had

             liability insurance policy limits equal to or greater than the applicable Allmerica

             UIM policy limits.

          24. The first class represents individuals with timely breach of contract claims; the

             second class represents individuals with timely claims for breach of contract and

             breach of Defendant’s duty of good faith and fair dealing (i.e., “bad faith”).

          25. Defendant’s practice of refusing to investigate, evaluate or pay UIM claims under

             the applicable UIM policies constitutes a systematic, mechanical practice carried

             out by the Defendant in the same manner against all of the class members.

          26. It is believed by Plaintiff that during the class periods Defendant’s failure to open,



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             investigate, evaluate or pay legitimate UIM claims as a result of its unreasonable

             practice has affected thousands of insureds across Oklahoma.

          27. Common questions of law and fact exist as to all class members and predominate

             over individual questions affecting solely individual members of the class.

          28. The claims asserted by the Plaintiff are typical of the claims of the class members

             because Defendant has tortuously breached the contract(s) which Plaintiff and the

             class were first party beneficiaries or class II insureds.

          29. The Plaintiff will fairly and adequately represent the interests of the members of

             the class by prosecuting this action.

          30. The Plaintiff is unaware of any potential conflict of interest that prevents her from

             serving as the class representative.

          31. If a class is not certified, the prosecution of thousands of different actions by

             individuals would create a substantial risk of inconsistent judgments. Further, the

             prosecution of thousands of separate actions is uneconomical for the class and the

             Courts.

          32. For the reasons set forth above, the class action device is superior to other

             available methods for prosecuting this case.

                                       CLAIMS FOR RELIEF

          33. Paragraphs 1-32 are incorporated herein by reference.

          34. In its handling of Plaintiff’s claim and the claims of all class members for benefits

             under the applicable policies of insurance, and as a matter of routine practice in

             handling similar claims, Defendants breached both its contractual duty and duty to




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            deal fairly and in good faith towards Plaintiff and all class members in the

            following respects:

               a. Requiring Plaintiff and all class members to pursue a claim against
                  another party before he could be entitled to benefits under the policy with
                  Defendant;

               b. Unreasonably refusing to waive subrogation or make a proper substitution
                  in relation to the third-party liability limits tendered to Plaintiff and all
                  class members;

               c. Failing to have knowledge or formal training regarding the terms of its
                  underinsured motorist policy with Plaintiff and all class members;

               d. Failure to comply with industry standards;

               e. Failing to reasonably construe the law applicable to Plaintiff’s claim(s)
                  and policy, and the claim(s) and policy of all class members;

               f. Attempting to shift the burden of investigation onto Plaintiff’s counsel;

               g. Unreasonably handling Plaintiff’s claim and the claims of all class
                  members causing them to institute unnecessary litigation;

               h. Failing to pay Plaintiff and all class members the insurance benefits that
                  they were entitled to under the policy at the time when Defendant knew
                  that the Plaintiff and all class members were entitled to those benefits;

               i. Unreasonably delaying payment of benefits without a reasonable basis;

               j. Refusing to pay Plaintiff’s claim, and the claims of all class members, for
                  reasons contrary to the express provisions of the law;

               k. Intentionally and recklessly misapplying the provisions of the insurance
                  policy;

               l. Using its unequal wealth and bargaining position to overwhelm and take
                  advantage of the Plaintiff and all class members and to effect an economic
                  gain for the Defendant by not paying an amount that it owed by virtue of
                  the insurance contract;

               m. Failing to properly investigate the Plaintiff’s claim and the claims of all
                  class members for benefits;


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                 n. Failing to properly evaluate the investigation that was done on Plaintiff’s
                    claim and the claims of all class members for benefits;

                 o. Failing to adopt and implement reasonable standards for the prompt
                    investigation and handling of claims arising under the policies including
                    the claims of the Plaintiff and all class members;

                 p. Failing to attempt to act in good faith to effectuate a prompt, fair
                    settlement for Plaintiff’s claim and the claims of all class members;

          35. As a direct result of Defendant’s breach of contract and breach of the implied

             covenant of good faith and fair dealing, Plaintiff and all class members have

             suffered the loss of the insurance policy benefits, mental and emotional distress,

             anxiety, embarrassment, medical expenses and financial hardship, all of which are

             in excess of five million dollars ($5,000,000.00).

          36. Plaintiff and all class members have retained an attorney to prosecute this action

             and are thus entitled to a reasonable attorney fee as well as the costs expended in

             pursuit of this litigation.

          37. Defendant has acted intentionally, maliciously and in reckless disregard for the

             rights of the Plaintiff and all class members. As a result, the Plaintiff and all class

             members are entitled to recover punitive damages against the Defendant for these

             actions.



             WHEREFORE, based on the foregoing, Plaintiff prays that this Court grant the

      relief sought including, but not limited to, actual damages with interest accruing from

      date of filing of suit, punitive damages, reasonable attorneys fees, and all other relief

      deemed appropriate by this Court.




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                                   Respectfully submitted,

                                   SMOLEN, SMOLEN & ROYTMAN, PLLC


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                                  CERTIFICATE OF SERVICE

             I hereby certify that on the date file stamped hereon, I electronically transmitted
      the foregoing document to the Clerk of Court using the ECF system for filing and
      transmittal of a Notice of Electronic Filing to the following ECF registrants: Dan S.
      Folluo and Randall E. Long.

                                                  /s/Donald E. Smolen, II




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